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 7
                            UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 8
                                     AT SEATTLE
 9

10          UNITED STATES OF AMERICA,                    CASE NO. C12-1282JLR

11                               Plaintiff,              ORDER ON JOINT STATUS
                   v.                                    REPORT AND STIPULATED
12                                                       MOTION
            CITY OF SEATTLE,
13
                                 Defendant.
14

15          Before the court is Plaintiff United States of America (“the Government”) and

16   Defendant City of Seattle’s joint status report and stipulated motion. (See JSR (Dkt.

17   # 633).) The parties’ stipulated motion seeks two forms of relief from the court: (1) an

18   extension to the court’s July 24, 2020, temporary restraining order’s (“TRO”) expiration

19   date (see TRO (Dkt. # 630)); and (2) an order setting a deadline for the Government to

20   file a motion for a preliminary injunction and a briefing schedule for that motion. (See

21   JSR at 1-2.) The court considers each request in turn.

22   //


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 1          The court issued the TRO on July 24, 2020, and set the TRO to expire 14 days

 2   after entry, which means the TRO is set to expire on August 7, 2020. (See TRO at 11.)

 3   Pursuant to Federal Rule of Civil Procedure 65(b)(2), the court may extend the TRO

 4   upon a court order finding good cause or an agreement amongst the parties. See Fed. R.

 5   Civ. P. 65(b)(2).

 6          The court GRANTS the parties’ stipulated motion to extend the TRO until

 7   September 18, 2020. Here, there is both good cause for an extension and an agreement

 8   amongst the parties on an extension. The parties stipulate to extend the TRO until

 9   September 18, 2020. (See JSR at 1-2.) The court finds that such an extension is

10   warranted given the unique circumstances of this case. The court already directed the

11   parties and the Community Police Commission (“CPC”) to submit memoranda to the

12   court on August 22, 2020, on the interaction between the Crowd Control Weapons

13   Ordinance (“CCW Ordinance”), the Consent Decree, and the relevant Seattle Police

14   Department policies. (See 7/22/20 Order (Dkt. # 626) at 7-9.) The court set an August

15   22, 2020, deadline for those filings to allow the parties and the CPC an opportunity to

16   respond to a report from the Office of Police Accountability and the Office of Inspector

17   General that is due on August 15, 2020. (See id.) Once the parties submit those filings to

18   the court, the court and the parties will be in a better position to assess the CCW

19   Ordinance’s impact on the Consent Decree and the merits of any motion for a preliminary

20   injunction that the parties may file. Thus, the court finds that good cause exists to extend

21   the TRO until September 18, 2020, so that the court can preserve the status quo and

22   provide the relevant stakeholders with sufficient time to comment on the CCW


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 1   Ordinance. Accordingly, pursuant to the parties’ agreement and the court’s independent

 2   finding of good cause, the court GRANTS the parties’ stipulated motion to extend the

 3   TRO and extends the TRO until September 18, 2020.

 4          The court also agrees with the parties’ proposed briefing schedule on the

 5   Government’s motion for a preliminary injunction. (See JSR at 2.) Accordingly, the

 6   court ORDERS that the Government’s motion for a preliminary injunction, if any, is due

 7   by August 27, 2020, and shall be noted for consideration on September 11, 2020; the City

 8   of Seattle’s opposition, if any, is due on September 8, 2020; and the Government’s reply,

 9   if any, shall be due on September 11, 2020. Outside of this adjusted briefing schedule,

10   the parties’ briefing shall comply with the requirements of Western District of

11   Washington Local Civil Rule 7 unless the court orders otherwise. See Local Rules W.D.

12   Wash. LCR 7. The court’s order extending the TRO until September 18, 2020, shall

13   remain in effect even if no party files a motion by the August 27, 2020, deadline to

14   ensure that the appropriate stakeholders and the court have sufficient time to determine

15   the appropriate path forward.

16          The court advises the City of Seattle to remain mindful that the Consent Decree

17   remains in full force and effect. As the Seattle City Council acknowledged when it

18   expressly asked the City Attorney to notify the court about the CCW Ordinance (see

19   Notice (Dkt. # 625), Ex. 1 (attaching a copy of the CCW Ordinance) at 5 (“In accordance

20   with United States of America v. City of Seattle, . . . during the pendency of the

21   [C]onsent [D]ecree [the City] Council requests that notice of this action be submitted by

22   the City Attorney to . . . the [c]ourt . . . .”)), legislation passed by the City Council may


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 1   impact the City of Seattle’s obligations under the Consent Decree. As such, during the

 2   pendency of the TRO, the court encourages the City of Seattle to remain mindful of its

 3   Consent Decree obligations and to work in tandem with the court, the Monitor, the

 4   Government, and other appropriate stakeholders to achieve Consent Decree compliance.

 5         Dated this 6th day of August, 2020.

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                                                     JAMES L. ROBART
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                                                     United States District Judge
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